         Case 1:07-cr-00047-IMK Document 134 Filed 03/14/13 Page 1 of 6 PageID #: 224
OAO 245D (Rev. 09/08) Judgment in a Criminal Case for Revocations
         Sheet 1


                                   UNITED STATES DISTRICT COURT
                   NORTHERN                                  District of                          WEST VIRGINIA
        UNITED STATES OF AMERICA                                   Judgment in a Criminal Case
                   v.                                              (For Revocation of Probation or Supervised Release)

               WARREN KIP HALL
                                                                   Case No.                 1:07CR47-01
                                                                   USM No.                  05714-087
                                                                   Brian J. Kornbrath
                                                                                             Defendant’s Attorney
THE DEFENDANT:
X admitted guilt to violation of           Mandatory and Special Conditions           of the term of supervision.

G was found in violation of                                                       after denial of guilt.
The defendant is adjudicated guilty of these violations:
Violation Number             Nature of Violation                                                           Violation Ended
        1                    Use and Possession of Suboxone                                                   01/24/13
        2                    Failure to Attend Substance Abuse Treatment                                      01/09/13
        3                    Failure to Report for Drug Testing                                               02/01/13




       The defendant is sentenced as provided in pages 2 through           6      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has not violated condition(s)                                  and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.:             4907                                      March 7, 2013
                                                                                             Date
                                                                                               t of Imposition of
                                                                                                               of Judgment
Defendant’s Year of Birth        1968

City and State of Defendant’s Residence:                                                            Si t
                                                                                                    Signature off Judge
                                                                                                                  J d
                        Clarksburg, WV
                                                                                Honorable Irene M. Keeley, United States District Judge
                                                                                               Name and Title of Judge

                                                                                                      March 14, 2013
                                                                                                          Date
        Case 1:07-cr-00047-IMK Document 134 Filed 03/14/13 Page 2 of 6 PageID #: 225
AO 245D     (Rev. 09/08) Judgment in a Criminal Case for Revocations
            Sheet 2 — Imprisonment
                                                                                         Judgment — Page       2       of    6
DEFENDANT:               WARREN KIP HALL
CASE NUMBER:             1:07CR47-01
                                                       IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:     4 months, with credit for time served from February 8, 2013.




  X The court makes the following recommendations to the Bureau of Prisons:
      X    That the defendant be incarcerated at FCI Morgantown or a facility as close to home in Clarksburg, WVas possible;
           G and at a facility where the defendant can participate in substance abuse treatment, including the 500-Hour
                  Residential Drug Abuse Treatment Program, as determined by the Bureau of Prisons.

                  X

      G That the defendant be allowed to participate in any educational or vocational opportunities while incarcerated, as
           determined by the Bureau of Prisons.
      Pursuant to 42 U.S.C. § 14135A, the defendant shall submit to DNA collection while incarcerated in the Bureau of Prisons,
  X or at the direction of the Probation Officer.

  X The defendant is remanded to the custody of the United States Marshal.
  G The defendant shall surrender to the United States Marshal for this district:
      G    at                               G a.m.       G p.m.        on                                          .

      G    as notified by the United States Marshal.

  G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      G    before 2 p.m. on                                        .
      G    as notified by the United States Marshal.

      G    as notified by the Probation or Pretrial Services Office.

      G    on _______________________, as directed by the United States Marshals Service.
                                                             RETURN

I have executed this judgment as follows:


      Defendant delivered on                                                     to

  at _____________________________ ,          with a certified copy of this judgment.



                                                                                        UNITED STATES MARSHAL


                                                                   By
                                                                                 DEPUTY UNITED STATES MARSHAL
           Case 1:07-cr-00047-IMK Document 134 Filed 03/14/13 Page 3 of 6 PageID #: 226
AO 245D       (Rev. 09/08) Judgment in a Criminal Case for Revocations
              Sheet 3 — Supervised Release
                                                                                                    Judgment—Page          3     of         6
DEFENDANT:                WARREN KIP HALL
CASE NUMBER:              1:07CR47-01
                                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :            24 months


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
G The above drug testing condition is suspended, based on the court’s determination that this condition has been satisfied during
      a previous term of supervision. (Check, if applicable.)
X     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X     The defendant shall cooperate in the collection of DNA as directed by the probation officer unless previously collected by the
      Bureau of Prisons. (Check, if applicable.)
G The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et.
      seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
      resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                    STANDARD CONDITIONS OF SUPERVISION
 1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
 3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)    the defendant shall support his or her dependents and meet other family responsibilities;
 5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
       acceptable reasons;
 6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
       controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
       a felony, unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
       contraband observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
       record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
       defendant’s compliance with such notification requirement.
            Case 1:07-cr-00047-IMK Document 134 Filed 03/14/13 Page 4 of 6 PageID #: 227
AO 245D      (Rev. 09/08)
             Sheet 4 — Special Conditions
                                                                                                    Judgment—Page     4     of           6
DEFENDANT:                       WARREN KIP HALL
CASE NUMBER:                     1:07CR47-01

                                            SPECIAL CONDITIONS OF SUPERVISION
1.         The defendant shall participate in a program of testing, counseling and treatment for the use of alcohol or
           drugs if so ordered by the Probation Officer.
2.         The defendant shall not purchase, possess or consume any organic or synthetic intoxicants, including bath
           salts, synthetic cannabinoids or other designer stimulants.
3.         The defendant shall not frequent places that sell, use, or distribute synthetic cannabinoids or designer
           stimulants.




         Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2)
extend the term of supervision, and/or (3) modify the conditions of supervision.
           These standard and/or special conditions have been read to me. I fully understand the conditions and have been provided a copy
of them.


           ______________________________________________                         ______________________________________
           Defendant’s Signature                                                  Date


           ______________________________________________                         ______________________________________
           Signature of U.S. Probation Officer/Designated Witness                        Date
            Case 1:07-cr-00047-IMK Document 134 Filed 03/14/13 Page 5 of 6 PageID #: 228
AO 245D     (Rev. 09/08) Judgment in a Criminal Case for Revocations
            Sheet 5 — Criminal Monetary Penalties

                                                                                                           Judgment — Page     5      of       6
DEFENDANT:                         WARREN KIP HALL
CASE NUMBER:                       1:07CR47-01
                                              CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.

                      Assessment                                           Fine                                  Restitution
TOTALS            $ -0-                                                $   -0-                                $ -0-


G The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

    The victim’s recovery is limited to the amount of their loss and the defendant’s liability for restitution ceases if and when the victim receives
    full restitution.

Name of Payee                                 Total Loss*                            Restitution Ordered                     Priority or Percentage




TOTALS                               $                                           $


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     G the interest requirement is waived for the              G fine        G restitution.
     G the interest requirement for the            G fine          G restitution is modified as follows:
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
            Case 1:07-cr-00047-IMK Document 134 Filed 03/14/13 Page 6 of 6 PageID #: 229
AO 245D     (Rev. 09/08) Judgment in a Criminal Case for Revocations
            Sheet 6 — Schedule of Payments

                                                                                                         Judgment — Page     6     of        6
DEFENDANT:                  WARREN KIP HALL
CASE NUMBER:                1:07CR47-01
                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    G Lump sum payment of $                                     due immediately, balance due

          G not later than                                             , or
          G in accordance with G C,                G D,        G E, G F, or G G below); or
B    G Payment to begin immediately (may be combined with                     G C,   G D,       G F, or G G below); or
C    G Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at this time; or

F    G Special instructions regarding the payment of criminal monetary penalties:
          Financial obligations ordered are to be paid while the defendant is incarcerated, and if payment is not completed during
          incarceration, it is to be completed by the end of the term of supervised release; or


G    G Special instructions regarding the payment of criminal monetary penalties:
          The defendant shall immediately begin making restitution and/or fine payments of $_______________ per month, due on the first
          of each month. These payments shall be made during incarceration, and if necessary, during supervised release.

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, are made to Clerk, U. S. District Court, Northern District of West Virginia, P.O.
Box 1518, Elkins, WV 26241.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



G Joint and Several

     Restitution is to be paid joint and several with other related cases convicted in Docket Number(s): _____________________________




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:
     Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
     fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
